Case 2:05-CV-02174-SHI\/|-tmp Document 5 Filed 06/07/05 Page 1 of 4 Page|D 10

IN THE UNITED sTATEs DISTRICT coURT pnm g;-,‘,' ®' g_¢;_
FoR THE wEsTERN DISTRICT op TENNESSEE
wEsTERN DIvIsIoN 95 JUH -7 pg 3: 25

 

ROBERTFK D§THOUO
GLERK,LLS.TIST CT

JAMES C' onLM' et al . l VV.D¢ C'F TE"~§, !u:‘\::£`eq;"l"!%$

Plaintiffs,
vs. Civ. No. 05-2174-MaZP

INA WOELM, et al.,

Defendants.

\..p~_r\_r'~_r'~_z\.z-.,¢-\_»-\_¢Vv

 

SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference is
scheduled for June 9, 2005, at 10:45 a.m. By agreement of counsel,
the following dates are proposed as the final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1):
July 15, 2005

JOINING PARTIES: August l, 2005

AMENDING PLEADINGS: August 1, 2005

INITIAL MOTIONS TO DISMISS: September l, 2005
COMPLETING ALL DISCOVERY: December 1, 2005

(a) DOCUMENT PRODUCTION: December l, 2005

Case 2:05-CV-02174-SHI\/|-tmp Document 5 Filed 06/07/05 Page 2 of 4 Page|D 11

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: December l, 2005

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: OCtOber 3, 2005

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: NOVember l, 2005

(3) EXPERT WITNESS DEPOSITIONS: DeCember l, 2005
FILING DISPOSITIVE MOTIONS: January 15, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good_ cause shown, or the objection. to the default, response,
answer, or objection shall be waived.

This case is set for a jury trial. The pretrial order date,
pretrial conference date, and trial date will be set by the
presiding judge. It is anticipated. that the trial will last
approximately three (3) days.

This case is appropriate for ADR. The parties are directed to
engage in court-annexed_ mediation or private mediation. before
ClOse of discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

Case 2:05-CV-02174-SH|\/|-tmp Document 5 Filed 06/07/05 Page 3 of 4 Page|D 12

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

At this time, the parties have not given consideration to
whether they wish to consent to trial before the magistrate judge.
The parties will file a written consent form with the court should
they decide to proceed before the magistrate judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or

extended.
/,_____

TU M. PHAM
United States Magistrate Judge

/3\»1_ 'l! ?/\95/

IT IS SO ORDERED.

Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02174 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

ESSEE

 

Gregory W. O'Neal
BRATTON & O'NEAL
675 Oakleaf Oftice Ln.
Ste. 200

1\/1emphis7 TN 38117

R. Dale Bay

LEWIS KING KRIEG & WALDROP, PC
201 4th Avenue North

Ste. 1500

Nashville, TN 37219

Stuart B. Breakstone
BREAKSTONE & ASSOCIATES
200 Jefferson Ave.

Ste. #725

1\/1emphis7 TN 38103

Elissa M. Mulrooney
BRATTON & O'NEAL
675 Oakleaf Oftice Ln.
Ste. 200

1\/1emphis7 TN 38117

Zachary Michael Moore
BREAKSTONE & ASSOCIATES
200 Jefferson Ave.

Ste. #725

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

